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                       Nos. 23-15049, 23-15050, 23-15051


            IN THE UNITED STATES COURT OF APPEALS
                    FOR THE NINTH CIRCUIT


                           THERESA SWEET, et al.,
                                         Plaintiffs-Appellees,
                                     &
EVERGLADES COLLEGE, INC.; LINCOLN EDUCATIONAL SERVICES CORPORATION; and
                    AMERICAN NATIONAL UNIVERSITY,
                                         Intervenors-Appellants
                                     v.
MIGUEL A. CARDONA, Secretary of the United States Department of Education, and
                    U.S. DEPARTMENT OF EDUCATION,
                                         Defendants-Appellees.


                 On Appeal from the United States District Court
                     for the Northern District of California


                 RESPONSE TO EMERGENCY MOTION
                    FOR A STAY PENDING APPEAL


                                          SARAH E. HARRINGTON
                                            Deputy Assistant Attorney General
                                          MARK B. STERN
                                          JOSHUA M. SALZMAN
                                          SEAN R. JANDA
                                            Attorneys, Appellate Staff
                                            Civil Division, Room 7260
                                            U.S. Department of Justice
                                            950 Pennsylvania Avenue NW
                                            Washington, DC 20530
                                            (202) 514-3388
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                                 INTRODUCTION

       After years of litigation, the Department of Education settled a massive class

action brought by student loan borrowers challenging the Department’s processing of

class members’ applications for relief under a rule that relieves borrowers of their

repayment obligation when their school engaged in misconduct. The litigation arose

from delays in addressing a backlog of applications that far exceeded the

Department’s adjudicative capacity. The settlement provides a rational and fair means

of resolving the litigation and for eliminating that backlog. It calls for the Department

to automatically grant full discharges to approximately 200,000 class members who

borrowed to attend 151 specific schools, enabling the Department to adjudicate the

remaining class members’ claims on a specified timeline. The Department agreed to

provide automatic relief to borrowers associated with the enumerated schools because

it determined that there are threshold indications these borrowers would likely prevail

on their claims if adjudicated and because alternative outcomes through continued

litigation risked more arbitrary resolution of the claims as a whole. No class member

maintains an objection to the settlement, and it was approved by the district court

after a fairness hearing.1




  1
    This settlement is unrelated to a separate Department initiative, repeatedly
referenced by the intervenors, that provides one-time student loan relief to low- and
middle-income borrowers. A.537.
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        Although all parties to the settlement are satisfied with this resolution, three of

the 151 schools—whose students constitute less than 1% of the plaintiff class—

intervened in an unsuccessful attempt to block the settlement in its entirety. They did

so even though the settlement binds only the Department and the plaintiff class,

providing neither the Department nor the plaintiffs with additional rights vis-à-vis the

intervenors. The district court accordingly refused to stay the settlement pending the

intervenors’ appeal, explaining that the intervenors could not even “identify an injury

to [them] arising from this settlement agreement (that they were not a party to)

resolving this litigation (that did not involve them).” A.552. This Court should follow

suit.

                                     STATEMENT

        “Congress has allowed for the cancellation of federal student loans in certain

cases of school misconduct” pursuant to a process known as borrower defense. In re

U.S. Dep’t of Educ., 25 F.4th 692, 695 (9th Cir. 2022) (citing 20 U.S.C. § 1087e(h)).

Borrowers may claim entitlement to borrower-defense relief if, for example, their

school allegedly made material misrepresentations, and may submit applications for

relief to the Department. E.g., 34 C.F.R. §§ 685.206(e)(8), 685.222(e)(1)(i). When a

borrower-defense application is submitted, the relevant school may generally respond

to the allegations. A.542 (summarizing the regulations). If borrower-defense relief is

granted, the Department may initiate a proceeding to recoup the discharged amounts

from the school, in which case the school is entitled to a hearing and the opportunity

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to litigate the issue de novo. 34 C.F.R. §§ 685.308(a)(3), 668.87(a)-(b). The

Department may also seek to recover funds from schools that violate the

Department’s regulations in other circumstances. Id. § 685.308(a)(1)-(2).

      Beginning in 2015, there was an unprecedented surge in borrower-defense

requests, overwhelming the Department, which subsequently began to reconsider its

borrower-defense policies. That resulted in a pause of adjudications and a backlog of

hundreds of thousands of applications. A.468-69. In 2019, plaintiffs filed this class

action seeking to compel the Department to resume adjudicating applications. A.469.

Although the suit initially sought only procedural relief, over the course of the

litigation, plaintiffs ultimately suggested that the Department should be ordered to

show cause why every single class member’s borrower-defense application should not

be granted immediately. Dkt. No. 245, at 1.

      After years of litigation, including a trip to this Court regarding a discovery

dispute, see U.S. Dep’t of Educ., 25 F.4th 692, the parties reached a settlement that was

the product of many months of arm’s length negotiations, A.217. The settlement

provides full, automatic relief to class members who received federal student loans to

attend 151 schools identified in the settlement’s Exhibit C and provides for the

remaining class members to receive individualized adjudications using streamlined

procedures to be completed on a specified timetable. A.471. The settlement also

provides a deadline for the Department’s adjudication of applications submitted after

execution of the settlement but before final approval. A.471. The Department has

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explained that providing automatic discharges to borrowers associated with the

Exhibit C schools is critical to its ability to timely address other pending and future

claims; that the Department does not consider an institution’s inclusion on Exhibit C

to constitute evidence that an institution engaged in misconduct; and that because the

automatic discharges are made pursuant to the agency’s settlement authority, not its

borrower-defense regulations, affording relief to a borrower from an Exhibit C school

“provides no basis to the Department for initiating a borrower defense recoupment

proceeding against any institution identified on Exhibit C.” A.375-76.

       Four of the Exhibit C schools, including three who are appellants here,

intervened to oppose the settlement. A.472. The district court rejected the

intervenors’ arguments and approved the settlement. A.467-91. The court concluded

that the Department had authority to settle the litigation (A.472-80); that inclusion on

Exhibit C “do[es] not impose any liability whatsoever on intervenors” (A.480); that

the litigation had not become moot when the Department resumed adjudicating some

borrower-defense claims (A.483-86); and that the settlement was fair and adequate

(A.486-91).

      Three intervenors noticed appeals and asked the district court for a stay of the

settlement pending appeal. A.535. The district court denied the stay motion, rejecting

intervenors’ arguments that the settlement was, pursuant to its own terms,

automatically stayed by the appeals (A.537-41); concluding that intervenors had not

shown that a stay would avoid irreparable harm either to their procedural rights or

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their reputations (A.541-51); finding that intervenors are unlikely to succeed on the

merits (A.551-53); and determining that the public interest and balance of equities

weigh against a stay (A.553-55). The court nonetheless granted a temporary stay of the

discharge of loans of the small minority of class members who attended the appealing

intervenors’ own institutions to allow intervenors to seek a stay from this Court.

A.555.

                                      ARGUMENT

          In determining whether to grant a stay pending appeal, the Court considers “(1)

whether the stay applicant has made a strong showing that he is likely to succeed on

the merits; (2) whether the applicant will be irreparably injured absent a stay; (3)

whether issuance of the stay will substantially injure the other parties interested in the

proceeding; and (4) where the public interest lies.” Nken v. Holder, 556 U.S. 418, 426

(2009) (quotation omitted). Intervenors have failed to carry their burden on each

factor.

          A.    Intervenors Cannot Demonstrate Any Injury, Much Less
                Harm Warranting A Stay

          The district court correctly found that intervenors have suffered no cognizable

injury from the settlement. A.552. Intervenors’ lack of injury is relevant to the stay

analysis for two distinct reasons. First, unless intervenors can demonstrate a

cognizable injury (plus traceability and redressability) as required to establish standing,

they have no likelihood of success on the merits. See Diamond v. Charles, 476 U.S. 54,


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68 (1986) (recognizing that when an intervenor seeks to “continue a suit in the

absence of the party on whose side intervention was permitted,” the intervenor must

demonstrate its own standing to appeal); see also Lujan v. Defenders of Wildlife, 504 U.S.

555, 560-61 (1992) (describing the three requirements for standing). Second, if

intervenors cannot show any injury, they cannot show that a stay is necessary to avoid

irreparable harm.

       There is no dispute that the settlement provides no predicate for the

Department to seek to recoup the discharged loan amounts from the schools listed on

Exhibit C, and intervenors indeed do not contend that the settlement will directly

cause them any financial injury. Instead, they focus on purported “reputational

injuries” stemming from their inclusion on Exhibit C (Mot. 29-30, 33-37), and the

purported loss of “procedural protections available” to schools under the Borrower

Defense regulations (Mot. 30, 31-32). Neither of those claimed harms suffices.

       1. Intervenors’ inclusion in Exhibit C does not cause them any concrete

reputational injury, let alone reputational injury that would be redressed by a

successful appeal on the merits or forestalled by a stay. By its terms, Exhibit C is

merely a list of schools whose students will receive full, automatic settlement

discharges. The Department has stated that inclusion in Exhibit C is not evidence that

a school engaged in misconduct. A.272; A.300-03; A.375. Intervenors emphasize that

the Department has explained that it selected the schools for inclusion in Exhibit C

based on whether there were “strong indicia regarding substantial misconduct”

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(A.220-21), but even the paragraph emphasized by intervenors makes clear that the

Department had determined that actual misconduct was only “in some instances

proven,” while in others it was merely “credibly alleged.” A.221. The Department also

explained that it was providing “presumptive relief” because of “high rate[s] of class

members with applications related to the listed schools” and because “[c]learing these

claims through provision of expeditious upfront relief will significantly reduce the

backlog of pending claims.” A.221.

      Intervenors also fall short of their obligation to “produce evidence that [their

reputational] injury is concrete, not speculative.” Ezzell Trucking, Inc. v. FMCSA, 309

F.3d 24, 26 (D.C. Cir. 2002). Two of the three intervenors fail to identify any concrete

examples of reputational consequences from the settlement. And none of the

examples put forward regarding the third intervenor, Lincoln, establishes the sort of

“concrete” reputational harm—such as “present and future consequences for

[Lincoln’s] business” or “customers [who] have changed their business decisions”—

required to satisfy Article III. Id. To the contrary, two of the examples involve isolated

criticisms of Lincoln by “partisan activist groups” and by a high school teacher who

refused to permit Lincoln’s representative to present to the teacher’s class. See Mot.

33, 35. And the final example involves Lincoln’s having reported this litigation in its

securities filings. Mot. 35-36. Although Lincoln suggests vague harms to “financial

reporting and shareholder relations” from those filings (Mot. 36), Lincoln has not

substantiated those suggestions with anything concrete; indeed, as the district court

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explained, Lincoln’s stock price has increased since Exhibit C was made public

(A.550).

      Moreover, intervenors cannot show that any perception that they engaged in

misconduct is fairly traceable to the settlement or Exhibit C, as is required to establish

standing. See Lujan, 504 U.S. at 560-61. Intervenors’ own evidence shows that Lincoln

was the subject of a consent judgment with the Massachusetts Attorney General to

“resolve allegations that the school violated state consumer protection law” and that

there were “numerous law enforcement inquiries” into Lincoln unconnected to the

settlement or Exhibit C, including a new inquiry initiated by the Massachusetts

Attorney General and inquiries conducted by the Department of Education’s

Inspector General and the Consumer Financial Protection Bureau. A.546-47

(quotation omitted). The other appealing intervenors have also separately settled, or

been found liable in, consumer-protection lawsuits unrelated to the settlement at issue

here. See Dkt. No. 288, at 18 n.4 (referencing cases where American National

University was found liable in consumer-protection suit by Kentucky Attorney

General and Everglades University settled claims of unfair trade practices brought by

State of Florida). Intervenors thus fail to show that any damage to their reputations is

traceable to their inclusion as three of 151 schools on Exhibit C, rather than to the

other myriad legal issues the schools have faced.

      Likewise, there is no reason to believe that damage to their reputations would

be redressed by a favorable decision. See Lujan, 504 U.S. at 561. Intervenors’ appeal

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seeks an order reversing the approval of the settlement. But the reputational harm

that intervenors allege stems from, in their words, “[b]eing publicly branded a

presumptive wrongdoer.” Mot. 33. Intervenors do not demonstrate how a

determination by this Court that, for example, the settlement exceeds the Secretary’s

statutory authority would “rehabilitate [intervenors’] reputation,” McBryde v. Committee

to Review Circuit Council Conduct & Disability Orders of Judicial Conference of U.S., 264 F.3d

52, 57 (D.C. Cir. 2001), even assuming that it was damaged by the settlement. The fact

that intervenors were originally included on Exhibit C, and the original justification

for their inclusion as relating to substantial indicia of misconduct, are matters of

public record. Regardless of whether the settlement is implemented, “partisan activist

groups” can still assert that Exhibit C constitutes a “government-approved list of bad

actors.” Mot. 33, 35; see also Lujan, 504 U.S. at 562 (noting the difficulty of establishing

standing when the redressability of the alleged injury “depends on the unfettered

choices made by independent actors not before the courts and whose exercise of

broad and legitimate discretion the courts cannot presume either to control or to

predict” (quotation omitted)). Accordingly, intervenors’ attempt to leverage any

purported injury stemming from Exhibit C to seek disapproval of the settlement

amounts to an end-run around the principle that “past injuries alone are insufficient”

to establish jurisdiction for “forward-looking” relief. NB ex rel. Peacock v. District of

Columbia, 682 F.3d 77, 82 (D.C. Cir. 2012) (quotation omitted).



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       For much the same reason that intervenors cannot establish reputational injury

that would support standing, they also cannot show that a stay of the settlement

pending appeal would shield them from any purported irreparable harm. Even if

intervenors have suffered any reputational injury from the settlement, they fail to

show that the injury is connected to whether the Department is allowed to begin

implementing the agreement. Preventing the Department from discharging loans will

do nothing to forestall the reputational consequences (if any) that result from the

intervenors’ inclusion in Exhibit C and, thus, is not a basis for a stay pending appeal.

See Al Otro Lado v. Wolf, 952 F.3d 999, 1007 (9th Cir. 2020) (explaining that party

seeking a stay must show that “irreparable injury is likely to occur during the period

before the appeal is likely to be decided” and that “a stay is necessary to avoid” this

irreparable injury).

       2. The intervenors also briefly argue that the settlement inflicts a procedural

injury by violating their right to participate in borrower-defense adjudications and by

extending the statute of limitations for some claims. Mot. 30, 31-32. This argument

misunderstands the basis under which the Department is discharging the loans of

borrowers who attended Exhibit C schools. The Department has explained that these

discharges are being effectuated “pursuant to the terms of the Settlement Agreement,

not pursuant to the Department’s borrower defense regulations.” A.375. The stated

purpose of the automatic discharges under Exhibit C is to avoid the need for

individualized adjudications contemplated by the borrower-defense regulations, which

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would likely take years. As the district court explained, the “settlement does not call

for the Department to adjudicate the borrower defense applications of the group of

class members to which Exhibit C applies.” A.542 (quotation omitted). The

intervenors are accordingly not being denied the opportunity to participate in

borrower-defense adjudications specified by the Department’s regulations because

those adjudications are not occurring. Nowhere do intervenors cite any authority to

support the idea that any concrete injury arises from the Department’s choice to use

its discretion to resolve borrower-defense claims through settlement rather than

through borrower-defense adjudications.

       Moreover, even if intervenors’ procedural rights had been impaired in some

way, “deprivation of a procedural right without some concrete interest that is affected

by the deprivation—a procedural right in vacuo—is insufficient to create Article III

standing.” Summers v. Earth Island Inst., 555 U.S. 488, 496 (2009). Here, the only

concrete interest that the intervenors identify is an interest in not being subject to, or

found liable in, future recoupment proceedings. See Mot. 31-32. But the Department

is not currently pursuing any such recoupment proceedings against intervenors, and

intervenors fail to provide any argument or evidence to suggest that the Department

intends to pursue future recoupment proceedings related to any discharges effectuated

under the settlement. Without any such suggestion, any injury that depends on such

future hypothetical proceedings is not the sort of “certainly impending” injury

required for standing. Clapper v. Amnesty Int’l USA, 568 U.S. 398, 410 (2013). Any

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suggestion that the Department will attempt recoupment is particularly speculative

given the district court’s finding that “no recoupment action could be initiated . . . as a

result of the settlement.” A.481. Thus, intervenors’ procedural claim is unconnected

from their alleged harm and does not support either their standing or their entitlement

to a stay.

       3. Intervenors’ inability to demonstrate irreparable harm is underscored by the

massive disconnect between their own alleged injury (the grant of relief to borrowers

who attended their own schools) and the relief they have sought (a stay of the entire

settlement). The class action settlement—the approval of which not a single class

member has appealed—resolves the claims of hundreds of thousands of class

members, including approximately 200,000 borrowers who attended one of the 151

schools listed in Exhibit C. A.534. As explained, intervenors have not demonstrated

any harm from any component of the settlement. But even setting that aside,

intervenors do not even attempt to explain how effectuating the settlement with

respect to the 99% of class members who do not have loans associated with the

intervenor schools could possibly harm them. To the contrary, intervenors aver that

all they seek is “their removal from Exhibit C and the assurance that any [borrower-

defense] claims against them will be adjudicated fairly” (Mot. 42)—neither of which

relates in any way to the hundreds of thousands of settled claims unconnected to

intervenors. Intervenors do not even attempt to justify their request for what even

they appear to recognize to be a wildly overbroad stay. Mot. 41-42.

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       B.     The Public Interest And Balance Of Equities Weigh Against
              A Stay

       The intervenors’ inability to show concrete injury from allowing the settlement

to be implemented contrasts sharply with the tangible harm that would result from a

stay. Accordingly, the district court correctly concluded that the balance of the

equities and the public interest—two factors that “merge” when the government is a

party, Nken, 556 U.S. at 435—“heavily weigh against a stay.” A.553.

       Any stay of the settlement agreement would substantially harm the

Department, the plaintiffs, and the public. The Department is facing a crushing

backlog of borrower-defense applications submitted by hundreds of thousands of

class members in this case. See A.554. The Department thus has a strong interest in

resolving this litigation and eliminating that backlog according to a schedule that is

workable for the Department and that permits the Department to continue devoting

appropriate resources to its other initiatives and priorities. And the public similarly has

an interest in resolution of “this stubborn and burgeoning backlog.” A.555. Moreover,

by ensuring the Department’s ability to provide timely borrower-defense relief where

warranted, the settlement will provide substantial benefits to each of the hundreds of

thousands of class members by removing a cloud of financial uncertainty. Id. The

borrowers associated with intervenors’ own schools share those interests fully.

       Given the strong interest in moving forward, and consistent with the district

court’s order and the need to meet deadlines specified in the settlement, the


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Department has already begun the process of effectuating the settlement by directing

loan servicers to start processing Exhibit C discharges for schools other than

intervenors, providing notices to class members, updating its own internal systems to

reflect the rescission of previous denials, and beginning the adjudication process for

those reopened cases through the settlement’s streamlined procedures. See A.536

(describing the implementation process). The consequent whipsawing that will occur

if the settlement is stayed, only for the stay to later be lifted if the intervenors are

unsuccessful, will further cause confusion among the loan servicers, borrowers, and

the public and undermine the agency’s ability to effectively implement the borrower-

defense program.

       C.     Intervenors Are Unlikely To Prevail On The Merits

       Because intervenors will be unable to establish standing, and because the other

three stay factors weigh decisively against them, the Court need not consider the

merits of intervenors’ challenges to the settlement. But, regardless, intervenors are

unlikely to prevail.2

       1. Even were intervenors able to establish standing, their claims would still fail

at the threshold because the settlement agreement between the Department and

plaintiffs resolves litigation regarding a statutory framework designed to advance the



  2
    As in district court, see Dkt. No. 362, at 2 n.1, the government does not address
issues on which plaintiffs bear the burden of proof, including the district court’s
subject matter jurisdiction and the propriety of class certification.

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interests of borrowers, not the intervenors. Under the Administrative Procedure Act,

suit is precluded where the party’s “interests are so marginally related to or

inconsistent with the purposes implicit in the statute [being enforced] that it cannot

reasonably be assumed that Congress intended to permit the suit.” Clarke v. Securities

Indus. Ass’n, 479 U.S. 388, 399 (1987).

       Here, the intervenors do not fall within the zone of interests of the statutory

and regulatory provisions they seek to enforce. The borrower-defense provisions are

concerned with granting relief to defrauded borrowers; they are not designed to

benefit the institutions that allegedly defrauded the borrowers. See 34 C.F.R. part 685,

subpart B (“Borrower Provisions”); see also id. § 685.206 (“Borrower responsibilities

and defenses”); id. § 685.22 (similar). Intervenors’ interests are, instead, protected

through the separate procedural and judicial review rights that institutions have in any

recoupment proceedings. See id. part 668, subpart G (enforcement regulations); see also

id. §§ 685.206(c)(3)-(4), (e)(16), 685.222(e)(7) (authorizing the Secretary to initiate

recoupment proceedings under the enforcement regulations). It is only through that

separate process, which is governed by separate regulations and which is not

implicated by the settlement in this case, that any liabilities of the intervenors could be

determined. Intervenors do not suggest that they would have any right of judicial

review of a Department decision granting a borrower-defense claim by a borrower,

and correspondingly, they have no right to challenge a Department decision to grant

relief to those same borrowers through settlement. Nor is there any reason to believe

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that Congress would have intended to empower intervenors to block the Department

from exercising its discretion to settle long-running litigation through an agreement

that neither binds nor confers rights on them.

       2. Intervenors wrongly claim (Mot. 19-24) that the settlement represents an

invalid exercise of the Secretary’s and Attorney General’s authority. However, the

government has ample authority to enter into the settlement.

       As an initial matter, the Attorney General has “plenary discretion” to “settle

litigation to which the federal government is a party.” United States v. Carpenter, 526

F.3d 1237, 1241 (9th Cir. 2008) (citing 28 U.S.C. §§ 516 and 519). That plenary

authority cannot be exercised to approve a settlement requiring an agency to take

action beyond its statutory authority, see id. at 1242, but there is no dispute that the

Secretary has authority to provide discharges and refunds to borrowers who have

made borrower-defense claims. That substantive authority, combined with the

Attorney General’s settlement authority, provides support for the settlement.

       The Secretary also is empowered to compromise federal student loan debt.

This case involves loans made under two programs—the Federal Family Education

Loan (FFEL) program, governed by Part B of the relevant title of the Higher

Education Act, and the Federal Direct Loan Program, governed by Part D. The

Secretary has statutory authority with respect to Part B to “enforce, pay, compromise,

waive, or release any right, title, claim, lien, or demand, however acquired.” 20 U.S.C.

§ 1082(a)(6). And Congress has provided that “loans made to borrowers” under Part

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D “shall have the same terms, conditions, and benefits” as loans made under Part B.

Id. § 1087e(a)(1). Thus, as the district court concluded (A.473-80), the Secretary has

authority to settle any claim relating to FFEL loans, and that same authority—which

reflects a term, condition, and benefit of the loan—also attaches to claims related to

Direct loans.

       Intervenors dispute the Secretary’s authority to settle claims related to Direct

loans, contending that § 1087e(1) does not provide the Secretary any “functions,

powers, [or] duties” relating to Direct loans but instead only speaks to terms and

conditions of the loans. Mot. 20-21. But the Secretary’s authority to compromise

claims related to a loan is naturally construed as both a “term” and “condition” of the

loan, as it is inextricably intertwined with the indisputable terms and conditions

governing repayment. Intervenors’ contrary suggestion also ignores that Congress

intended the Direct Loan Program “to eventually replace the FFEL Program,” which

suggests a congressional intent to ensure “parity” between the two programs. A.474.

And intervenors fail to locate any other statutory provision providing the Secretary

with “functions, powers, or duties” related to Direct loans, meaning their construction

would lead to the absurd proposition that the Secretary lacks any powers related to

such loans.

       The apparent implication of the intervenors’ argument is that the Secretary has

no authority at all to settle any claim related to any Direct loan. But that would make

no sense. If the Secretary determines, even after initially denying (or failing to act on)

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a claim, that a borrower may be entitled to relief and might prevail in pending

litigation, it is entirely reasonable, efficient, and equitable for the Secretary to settle

that claim in litigation by discharging the borrower’s debt. Such a settlement avoids

costly additional litigation and administrative procedures, which delay the relief that

Congress intended for borrowers, impose costs on the government, and deplete the

Department’s resources for resolving other borrowers’ claims. Intervenors have

provided no persuasive reason to think that Congress intended to preclude the

Secretary from ever settling such a claim.

       Intervenors also contend that the power to “compromise” claims related to

loans does not include “the power to grant blanket debt cancellation.” Mot. 22. But

contrary to intervenors’ repeated assertions, the settlement does not reflect any en

masse cancellation but is instead the compromise of specific claims that have been

submitted to the Department pursuant to the statutorily authorized borrower-defense

regulations, and which then became the subject of litigation. Intervenors do not and

cannot deny that the Department has statutory authority to resolve claims alleging

borrower defenses, including by discharging loans and refunding payments borrowers

have made. The Department is not asserting a novel authority or claiming the ability

to discharge its entire trillion-dollar loan portfolio; it is simply making a determination

about how best to use its established authority so as to resolve long-running litigation,

not involving intervenors, and to address a crippling backlog.



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       3. Intervenors next contend (Mot. 24-26) that the settlement violates the APA

because it is allegedly both inconsistent with the agency’s regulations and arbitrary.

Intervenors are wrong in suggesting that the agency is violating its own regulations or

amending them outside of notice-and-comment procedures. As the district court

recognized, the “Secretary has not altered the borrower-defense procedures at all.”

A.479. To the contrary, “[t]hose regulations remain in place.” Id. Instead, the

settlement simply establishes a framework for resolving a discrete set of outstanding

administrative adjudications—a framework that all parties whose rights are affected

have now accepted. Cf. 5 U.S.C. § 551(4), (6) (contrasting an agency “rule” that has

“future effect” with an agency “order” that resolves an adjudication); id. § 553

(providing notice-and-comment requirements for rules only).

       Nor does the settlement violate the agency’s regulations. As explained, the

settlement does not purport to adjudicate plaintiffs’ borrower-defense claims and,

thus, there was no need for the agency to adhere to the procedures attendant to such

adjudications. Taken to its logical conclusion, intervenors’ position would suggest that

agencies could never settle litigation challenging adjudications except perhaps by

agreeing to a full re-do of the adjudication. But as this Court emphasized in rejecting

similar arguments with respect to an agency consent decree, that result would

undermine the substantial benefits that accompany compromise settlements and

infringe the Attorney General’s plenary statutory authority to settle litigation. See Turtle

Island Restoration Network v. U.S. Dep’t of Commerce, 672 F.3d 1160, 1167 (9th Cir. 2012).

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       Intervenors’ argument that the settlement is arbitrary (Mot. 25-26) is similarly

misplaced. As an initial matter, this argument, which goes to the adequacy of the

agency’s reasoning in entering into the settlement rather than the agency’s authority

for doing so, is squarely foreclosed by the Attorney General’s “plenary discretion” to

“settle litigation to which the federal government is a party.” Carpenter, 526 F.3d at

1241. Intervenors identify no basis on which they could challenge the reasonableness

or wisdom of the Attorney General’s discretionary decision to settle litigation. Cf. 5

U.S.C. § 701(a)(2). Nor is there any support for their novel suggestion that a

settlement must be accompanied by a reasoned explanation. Mot. 26. In any case, the

Department has explained that it sought to “fully and finally resolve this litigation by

providing negotiated relief to class members on a timeline that is operationally feasible

for the Department.” A.374.

       4. Finally, intervenors briefly argue (Mot. 27-29) that the settlement strips them

“of liberty and property interests without due process.” But as the district court

correctly recognized, that is incorrect. See A.481-82.

       First, with respect to intervenors’ claimed liberty interest in their reputation,

intervenors have failed to demonstrate even a sufficiently concrete reputational injury

to satisfy Article III. See supra pp. 5-10. But even if intervenors’ asserted injuries are

sufficient for Article III purposes, they cannot establish any harm to a protected

liberty interest. As intervenors themselves recognize, such a “stigma-plus” due process

claim requires demonstrating “stigma from governmental action plus alteration or

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extinguishment of a right or status previously recognized by state law.” Fikre v. FBI,

35 F.4th 762, 776 (9th Cir. 2022) (quotation omitted); see Mot. 29-30. Although

intervenors speculate that their inclusion on Exhibit C could cause them to lose

students or donations (Mot. 27), any such loss would be insufficient to support a due

process claim because it would not involve the alteration or extinguishment of any

protected right or status. And intervenors have not, in any event, provided any

evidence to support their speculation.

      Second, intervenors’ claim that the settlement deprives them of property

without due process fares no better. It is indisputable that the settlement itself does

not deprive intervenors of any tangible property—it does not, for example, adjudicate

any of their rights or require them to pay any penalties. Instead, intervenors’ claim

rests on suppositions that the settlement might result in the Department pursuing

recoupment proceedings against them some day in the future. But “[a]ny hypothetical,

future remedial action would proceed according to established regulations, which

would provide the schools with full due process.” A.482. And the Department “does

not consider inclusion on Exhibit C” to “constitute evidence that could or would be

considered in an action by the Department against a school.” Id.; see A.376. And were

a recoupment proceeding ever initiated, nothing in the settlement would bar

intervenors from raising a due process defense at that time. In short, the settlement

affects the rights of the Department and the class members vis-à-vis each other; it

affects no rights of the intervenors.

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       D.     The Court Should Not Forgo Equitable Balancing

       Intervenors also briefly argue that the settlement agreement contains a self-

executing stay provision and, thus, that this Court should grant a stay without regard

to the equities. Mot. 12-13. But to even put the issue before the Court, intervenors

would need to establish appellate standing, which they cannot. Intervenors also fail to

explain the basis on which they are authorized to ask this Court to overrule the shared

understanding of the settling parties and declare the proper interpretation of an

agreement that confers no rights on them.

       In any case, intervenors misread the settlement agreement. The agreement

provides that it will take effect on the date that the judgment approving the settlement

“becomes non-appealable, or, in the event of an appeal by a Class Member based

upon a timely filed objection to this Agreement, upon the date of final resolution of

said appeal.” A.269. As the district court explained, the settlement became effective

upon expiration of the period when a class member could notice a timely appeal—

intervenors’ own appeal does not extend the effective date. A.537-41. By specifying

that appeals will extend the effective date of the settlement in one narrow

circumstance, the parties presumptively excluded extensions based on other appeals.

Copeland v. Ryan, 852 F.3d 900, 907 (9th Cir. 2017) (quotation omitted) (describing the

expressio unius canon); see also Murphy v. DirecTV, Inc., 724 F.3d 1218, 1234 (9th Cir.

2013) (applying that canon to contract interpretation). Moreover, if intervenors were

correct that any pending appeal means the judgment remains “appealable” (and, thus,

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not yet effective) there would have been no need to specify that certain pending

appeals extend the effective date. See United States v. Barraza-Lopez, 659 F.3d 1216,

1220 (9th Cir. 2011) (describing the canon against surplusage).

      Intervenors also misread a provision specifying that the agreement “shall be

void if it is not approved as written by a final Court order not subject to any further

review.” A.291. That provision only explains the consequences of any ultimate

decision, by the district court or on appeal, that the settlement should be rejected. It

has nothing to say about when the settlement becomes effective in the first place.

      In any case, any ambiguity should be resolved in favor of effectuating the

shared intent of the settling parties. There can be no dispute that the parties, including

hundreds of thousands of class members, wish to proceed with the settlement. They

should be permitted to do so.




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                               CONCLUSION

    For the foregoing reasons, the intervenors’ motion should be denied.

                                       Respectfully submitted,

                                       SARAH E. HARRINGTON
                                        Deputy Assistant Attorney General
                                       MARK B. STERN
                                       JOSHUA M. SALZMAN
                                       /s/ Sean R. Janda
                                       SEAN R. JANDA
                                        Attorneys, Appellate Staff
                                        Civil Division, Room 7260
                                        U.S. Department of Justice
                                        950 Pennsylvania Avenue NW
                                        Washington, DC 20530
                                        (202) 514-3388
                                        sean.r.janda@usdoj.gov
March 2023




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                      CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing motion complies with the type-volume

limitation of Ninth Circuit Rules 27-1 and 32-3 because it contains 5,579 words. This

Motion complies with the typeface and the type style requirements of Federal Rule of

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                                              /s/ Sean R. Janda
                                              SEAN R. JANDA
